Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 1 of 19

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

CHRISTOPHER DIER,
Plaintiff,
V.

JEFFREY MARTIN LANDRY in his official
capacity as Governor of the State of Louisiana;
ELIZABETH MURRILL in her official
capacity as Attorney General of the State of
Louisiana; CADE BRUMLEY, in his official
capacity as the Louisiana State Superintendent
of Education; CONRAD APPEL, in his official
capacity as a member of the Louisiana State
Board of Elementary and Secondary Education
(“LSBESE”); JUDY ARMSTRONG, in her
official capacity as a member of the LSBESE;
KEVIN BERKEN, in his official capacity as a
member of the LSBESE; PRESTON
CASTILLE, in his official capacity as a
member of the LSBESE; SIMONE
CHAMPAGNE, in her official capacity as a
member of the LSBESE; SHARON LATTEN-
CLARK, in her official capacity as a member of
the LSBESE; LANCE HARRIS, in his official
capacity as a member of the LSBESE; PAUL
HOLLIS, in his official capacity as a member of
the LSBESE; SANDY HOLLOWAY, in her
official capacity as a member of the LSBESE;
STACEY MELERINE, in her official capacity
as a member of the LSBESE; and RONNIE
MORRIS, in his official capacity as a member
of the LSBESE,

Defendants.

Civil Action No.

Judge

Mag. Judge

VERIFIED COMPLAINT FOR
DECLARATORY AND INJUNCTIVE
RELIEF
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 2 of 19

VERIFIED COMPLAINT

1. The separation of church and state enshrined in the U.S. Constitution’s First
Amendment stands as a bold and revolutionary promise of freedom—freedom not only from
religious oppression but from the tyranny of imposing any single system of belief on a diverse
people. Rooted in the principle that government must remain neutral in matters of faith, it protects
a person’s right to worship, or not worship, as he or she sees fit. This separation fuels innovation,
pluralism, and dialogue, ensuring that ideas can flourish in a space untainted by coercion. It
embodies the democratic spirit, where no institution or person holds sway over the conscience of
another, safeguarding the integrity of both religion and government. In this separation lies the
promise of a truly free society.

2. This lawsuit challenges Louisiana House Bill No. 71, Act 676 (“H.B. 71” or the
“Act’), a new law that represents a direct attack upon the religiously neutral foundation of our free
society. H.B. 71 requires teachers in Louisiana’s public schools to post a Protestant version of the
Ten Commandments in every public school classroom in the State—regardless of grade level or
subject matter. Under H.B. 71, every schoolchild from the day her journey in public education
begins, until the day it ends, wiil not sit for a single minute of public instruction without H.B. 71’s
Protestant version of the Ten Commandments somewhere visible on the classroom wall.

3. While H.B. 71 targets children, it conscripts teachers. Those teachers include
educators who have devoted their lives to public education and to teaching young people the
fundamental precepts of our Constitution—including freedom to worship—that make America a
beacon to the world.

4. Plaintiff Christopher Dier is one such teacher. Mr. Dier is a renowned public

educator who currently teaches at Benjamin Franklin High School in New Orleans. He is the 2020
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 3 of 19

Louisiana Teacher of the Year, a 2020 finalist for the National Teacher of the Year, and the 2021
Gilder Lehrman Louisiana Teacher of the Year. Mr. Dier is the recipient of the 2021 National
Education Association’s (NEA) H. Councill Trenholm Memorial Civil Rights Award and the 2023
NEA California Casualty Award for Teaching Excellence. He holds a Master of Arts in Teaching
and a Master of Education (M.Ed.) in Educational Administration and is a doctoral candidate. He
is also the author of The 1868 St. Bernard Parish Massacre: Blood in the Cane Fields.

5. Mr. Dier teaches his students Advanced Placement (“‘A.P.”) U.S. History. As part
of that curriculum, he teaches his students about Marbury v. Madison and McCulloch v. Maryland,
seminal U.S. Supreme Court cases that stand for a foundational principle of our democracy: when
a state’s law conflicts with the Constitution, that law is invalid. Now, more than 200 years after
the Constitution’s ratification, that principle has withstood every challenge.

6. By this action it will again. This is an action for declaratory and injunctive relief
to enjoin the enforcement of H.B. 71 because it violates the Establishment Clause, Free Exercise
Clause, and Free Speech Clause of the First Amendment to the United States Constitution.
Plaintiff further seeks to enjoin Defendants from (i) implementing rules and regulations in
accordance with the Act, (ii) otherwise seeking to enforce the Act, and (iii) requiring him to display
the Ten Commandments in any public school classroom.

7. By requiring Louisiana teachers to post the Ten Commandments in their
classrooms, H.B. 71 coerces them into state-mandated religious observance, veneration, teaching,
proselytization, and adoption of the state’s favored religious scripture. H.B. 71 requires teachers,
including Mr. Dier, to send the harmful and religiously divisive message that students who do not
subscribe to the specific version of the Ten Commandments that H.B. 71 requires do not belong

in Louisiana classrooms, schools, and communities, and should refrain from expressing their own
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 4 of 19

beliefs or practicing their own faiths. H.B. 71 is unconstitutional. This Court should say so and

provide all necessary and appropriate relief.

JURISDICTION & VENUE

8. This action arises under the United States Constitution and the laws of the United
States and presents a federal question within this Court’s jurisdiction under Article III of the
Constitution and 28 U.S.C. § 1331. In addition, this Court has jurisdiction pursuant to 28 U.S.C.
§ 1343(a)(3).

9. The Court is authorized to award the declaratory and injunctive relief Mr. Dier
requests pursuant to 28 U.S.C. §§ 2201 and 2202.

10. Venue is proper in the Eastern District of Louisiana because a substantial part of
the alleged events or omissions giving rise to Plaintiff's claims occurred in Orleans Parish. 28
U.S.C. § 1391(b)(2). Plaintiff resides and teaches in this district. Accordingly, the actions to
administer, implement, and enforce the Act by the Defendants that give rise to the claims herein
will necessarily occur in large part within this district.

PARTIES

11. Plaintiff Christopher Dier is a citizen and resident of the State of Louisiana. At all
times relevant to this Complaint, Mr. Dier was domiciled in Saint Bernard Parish and was a teacher
at Benjamin Franklin High School in Orleans Parish.

12. Defendant Jeffrey Martin Landry is the Governor of the State of Louisiana. As
Louisiana’s Governor, Defendant Landry signed H.B. 71 into law. Defendant Landry continues
to advocate for the law. As the Chief Executive of the State of Louisiana, Defendant Landry is
responsible for enforcing the law. Defendant Landry is sued here in his official capacity.

13. Defendant Elizabeth Murrill is the Attorney General of the State of Louisiana. As

the Attorney General, Defendant Murrill has plenary power under the Louisiana Constitution to

4
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 5 of 19

institute civil actions to enforce the law. La. Const. art. IV, § 8 (“As necessary for the assertion or
protection of any right or interest of the state, the attorney general shall have authority to institute,
prosecute, or intervene in any civil action or proceeding.”). The Attorney General, through the
Louisiana Department of Justice, is responsible for the enforcement of H.B. 71. La. Stat. Ann.
§ 36:704 (vesting Louisiana DOJ civil division with “the assertion or protection of any right or
interest of the state of Louisiana’); La. Stat. Ann. § 36:702 (vesting Attorney General with power
and duty to oversee Louisiana DOJ). Defendant Murrill is sued here in her official capacity.

14. Defendant Cade Brumley is the Louisiana State Superintendent of Education. As
the State Superintendent of Education, Defendant Brumley serves as the administrative head of
the Louisiana State Department of Education and ts statutorily responsible for administering and
implementing all policies and programs adopted by the Louisiana State Board of Elementary and
Secondary Education. La. R.S. § 17:21 et seq. All employees of the State Department of
Education are under Defendant Brumley’s direction and control. La. R.S. § 17:24. Defendant
Brumley is responsible for the implementation of all state laws that fall under the jurisdiction of
the State Board of Elementary and Secondary Education, including H.B. 71. La. R.S. § 17:22.
Defendant Brumley is sued here in his official capacity.

15. Defendants Conrad Appel, Judy Armstrong, Kevin Berken, Preston Castille,
Simone Champagne, Sharon Latten-Clark, Lance Harris, Paul Hollis, Sandy Holloway, Stacey
Melerine, and Ronnie Morris are members of the Louisiana State Board of Elementary and
Secondary Education (“LSBESE”). LSBESE is responsible for the oversight and governance of
all public elementary and secondary schools in Louisiana. La. Const. art. VIII, § 3; La. R.S. § 17:1
et seq. LSBESE members have the statutory duty to enact policies and adopt regulations that

govern the operations of public elementary and secondary schools in Louisiana. La. R.S.
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 6 of 19

§ 17:6(A)(10). In their official roles, LSBESE members exercise policymaking, budgetary, and
related functions granted to them by the Louisiana State Legislature, which provides LSBESE
members with the authority to carry out their extensive responsibilities as detailed in Louisiana
education law. See generally La. R.S. § 17:6. In H.B. 71, the Louisiana State Legislature has
given LSBESE the authority to adopt rules and regulations to ensure the implementation of the
Act. Defendants Appel, Armstrong, Berken, Castille, Champagne, Latten-Clark, Harris, Hollis,
Holloway, Melerine, and Morris are each sued here in their official capacities as members of

LSBESE.
FACTUAL ALLEGATIONS

16. On June 19, 2024, Louisiana Governor Jeff Landry signed H.B. 71, which provides
that, by January 1, 2025, each public school governing authority in the state must require teachers
to display the Ten Commandments in every elementary, secondary, and post-secondary classroom
under its jurisdiction. H.B. 71(B), (C). The Act, which became effective immediately, will be
codified at La. R.S. § 17:2122. H.B. 71(3). H.B. 71 must be enforced by state charter schools.
§ 3996(B)(82).

17. Under Section (B)(2) of the Act, teachers must display only the State’s officially
approved version of the text of the Ten Commandments, as follows:

The Ten Commandments
I AM the LORD thy God.
Thou shalt have no other gods before me.

Thou shalt not make thyself any graven images.
Thou shalt not take the Name of the Lord thy God in vain.
Remember the Sabbath day, to keep it holy.

Honor thy father and thy mother, that thy days may be long upon the land which the Lord thy
God giveth thee.

Thou shalt not kill.

Thou shalt not commit adultery.

Thou shalt not steal.

Thou shalt not bear false witness against thy neighbor.
Thou shalt not covet thy neighbor’s house.

6
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 7 of 19

Thou shalt not covet thy neighbor’s wife, nor his manservant, nor his maidservant, nor his cattle,
nor anything that is thy neighbor’s.

2024 La. Sess. Law Serv. Act 676 (H.B. 71) (WEST) (to be codified at La. R.S. 17:2122(B)(2))

18. Section (B)(1) of the Act requires public school teachers in Louisiana to display the
Ten Commandments on a poster or framed document that is at least “eleven inches by fourteen
inches.” It mandates that “[t]he text of the Ten Commandments shall be the central focus of the
poster or framed document and shall be printed in a large, easily readable font.” 2024 La. Sess.
Law Serv. Act 676 (H.B. 71) (WEST) (to be codified at R.S. 17:2122(B)(1)).

19. H.B. 71 also requires that the Ten Commandments “be displayed with a context
statement” that purports to outline the “[h]istory of the Ten Commandments in American Public
Education.” 2024 La. Sess. Law Serv. Act 676 (H.B. 71) (WEST) (to be codified at R.S.
17:2122(B)(3)). The Act does not specify a size requirement for the statement and docs not require
that the statement be printed in a large, easily readable font.

20. Under H.B. 71, a school may—but is not required to—display three additional
documents “along with the Ten Commandments”: the Mayflower Compact, the Declaration of
Independence, and the Northwest Ordinance. 2024 La. Sess. Law Serv. Act 676 (H.B. 71) (WEST)
(to be codified at R.S. 17:2122(B)(4)(a)) (“A public school may also display the Mayflower
Compact, the Declaration of Independence, and the Northwest Ordinance, as provided in R.S.
25:1282, along with the Ten Commandments.”). The Act does not specify a size requirement for
these documents and does not require that they be printed in a large, easily readable font.

21. H.B. 71 requires public schools to acquire the Ten Commandments displays either
by (1) “accept[ing] donated displays,” or (2) “accept[ing] donated funds to purchase displays.”

2024 La. Sess. Law Serv. Act 676 (H.B. 71) (WEST) (to be codified at R.S. 17:2122(B)(5)(a),

(b)).
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 8 of 19

22. LSBESE is responsible for ‘“‘adopt[ing] rules and regulations in accordance with the
[Louisiana] Administrative Procedure Act to ensure the proper implementation” of the Act. 2024
La. Sess. Law Serv. Act 676 (H.B. 71) (WEST) (to be codified at R.S. 17:2122(B)(6)(a)).

23. H.B. 71 also requires the Louisiana Department of Education to “identify
appropriate resources to comply with” the Act “that are free of charge.” The Department of
Education is required to list these resources on its webpage. 2024 La. Sess. Law Serv. Act 676
(H.B. 71) (WEST) (to be codified at R.S. 17:2122(B)(6)(b)) (“The state Department of Education
shall identify appropriate resources to comply with the provisions of this Section that are free of
charge. Once identified, the department shall list the free resources on the department's internet
website.”’).

24. Under H.B. 71, every public school teacher must post the state-approved version of
the Ten Commandments in every classroom no later than January 1, 2025. 2024 La. Sess. Law
Serv. Act 676 (H.B. 71) (WEST) (to be codified at R.S. 17:2122(B)(1)).

25. The displays must be permanent and year-round. 2024 La. Sess. Law Serv. Act
676 (H.B. 71) (WEST) (to be codified at R.S. 17:2122(B)(1)) (providing that as of January |, 2025
teachers “shall” “display the Ten Commandments in each classroom’).

26. H.B. 71 requires the displays to be placed in “each classroom,” regardless of the
subject matter taught. For example, H.B. 71 requires the state-approved version of the Ten
Commandments to be posted in math and science classrooms. 2024 La. Sess. Law Serv. Act 676
(H.B. 71) (WEST) (to be codified at R.S. 17:2122(B)(1)) (providing that as of January |, 2025
teachers “shall” “display the Ten Commandments” in “each” classroom).

27. H.B. 71 requires teachers to post the Ten Commandments without regard to the

grade level and reading comprehension of students. For example, the law requires the Ten
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 9 of 19

Commandments displays to be hung in kindergarten and university classrooms, and every grade
level in between. 2024 La. Sess. Law Serv. Act 676 (H.B. 71) (WEST) (to be codified at R.S.
17:2122(B)(1)) (providing that as of January 1, 2025 teachers “shall” “display the Ten
Commandments” in “each” classroom).

28. House Bill 71’s preeminent purpose is religious.

29. _H.B. 71’s primary author and sponsor, Representative Dodie Horton, introduced
the Bill to the House Education Committee on the following premise: “It is so important that our
children learn what God says is right and what He says is wrong, and to allow [the Ten
Commandments] to be displayed in our classrooms as a visual aid, I believe, especially in this day
and time, is so important.” La. House Educ. Comm., 5:08 (Apr. 4, 2024), bit.ly/4cqHnxj.
Representative Horton emphasized that, “[w]hen [she] went to school, [she] learned . . . to know
that there was a god by reciting the Ten Commandments.” /d. at 16:00. She sponsored H.B. 71
so that Louisiana’s children can “see[] what God’s law is.” Jd. at 47:42.

30. The Bill’s co-author and co-sponsor, Representative Sylvia Taylor, echoed these
sentiments, explaining: “T believe that we are lacking in direction. A lot of people, their children,
are not attending churches or whatever. ... So, what I’m saying is, we need to do something in the
schools to bring people back to where they need to be.” /d. at 15:15.

31. On his official social media pages, Governor Landry has expressed his own view
of H.B. 71, declaring: “Since when did the Ten Commandments become a bad way to live your
life?!” In soliciting funds to defend H.B. 71 against a lawsuit by twelve Louisiana public school
parents and their children, Governor Landry exhorted his supporters to help him “ADVANCE...
the Judeo-Christian values that this nation was built upon.” Patrick Wall, Jeff Landry vows to

defend ‘Judeo-Christian values’ after Ten Commandments lawsuit, TIMES-PICAYUNE (June 25,
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 10 of 19

2024), https://perma.cc/R89N-3FKE. Governor Landry later told reporters that public school
parents who are unhappy with the law should “tell [their] child[ren] not to look.” Lexi Lonas,
Louisiana governor says kids can just not ‘look’ at Ten Commandments, files to dismiss charges,
THE HILL (Aug. 6, 2024), bit.ly/4cuVNwk.

The Act Officially Endorses and Prescribes a Protestant Version of the Ten
Commandments

32. House Bill 71 embodies a denominational preference. It expressly requires the
display of religious scripture—the Ten Commandments—in every public-school classroom.
Moreover, it requires a specific, state-approved version of that scripture to be posted, thus taking
sides on theological questions regarding the correct translation and content of the Bible. Since
different denominations of Christians and Jews subscribe to different translations and
interpretations of religious text, this amounts to state endorsement of a specific sect of Christianity.
See Steven Lubet, The Ten Commandments in Alabama, 15 Const. Comment. 471, 474 (1998)
(describing some of the differences in Commandments according to different faiths). Even among
religions in general agreement about the source and importance of the Ten Commandments, there
is deep and divisive disagreement about their content. /d. at 476-77 (“To the faithful, scripture
matters.”); see also E.J, Dionne Jr., The Third Stage: New Frontiers of Religious Liberty, in What’s
God Got to Do with the American Experiment 117 (E.J. Dionne Jr. & John J. Dilulio Jr. eds., 2000)
(discussing shifting views on the separation between church and state and noting, “in 1844, ... six
people were killed in a riot in Philadelphia over what version of the Ten Commandments should
be posted in public schools”).

33. Different faiths dispute how the sixteen verses in Exodus 20:2—17 should be divided
to reflect the later references to “Ten Commandments.” Exodus 34:28; Deuteronomy 4:13, 10:4.

Each tradition has struggled with how they should be numbered. For example, many Jews and

10
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 11 of 19

some Christians consider the “First Commandment” to be “I am the Lord thy God,” while others
consider the First Commandment to be “Thou shalt [or You shall] have no other gods before me.”
The division of the commandments between two tablets is significant. According to some
Christians, the first tablet represents the duties we owe to GOD while the second represents the
duties we owe to each other. Glassroth v. Moore, 335 F.3d 1282, 1285 n.1 (11th Cir. 2003)

34. There are many faith traditions that do not teach, recognize, or reference the Ten
Commandments at all. For example, followers of Hinduism, Buddhism, and Taoism generally do
not consider the commandments to be part of their belief systems. Paul Finkelman, The Ten
Commandments on the Courthouse Lawn and Elsewhere, 73 Fordham L. Rev. 1477, 1498 (2005)
(explaining the Ten Commandments “have no relevance to the religious life of people who are not
of [the Judeo-Christian] ... faiths”). To members of non-Judeo-Christian religions, the Ten
Commandments do not merely recite non-controversial ethical maxims; several Commandments
(e.g., the first, second and third) address the forms and objects of religious worship. Moreover, the
Decalogue symbolizes a theology that is at odds with the theology of non-Judeo-Christian
religions. The manner in which the Decalogue was provided to human beings, as described in the
Bible, reflects a particular view of the relationship between the divine and human beings. Law,
under this. view, is not the result of rational deliberation by human beings in furtherance of the
public good, but rather the product of direct, divine command. The substance of the Ten
Commandments, far from being universal, is expressly predicated on the existence of one very
specific god: “I AM the LORD thy God. Thou shalt have no other gods before me.” The Ten
Commandments thus symbolize a particular religious perspective—that of Judeo-Christians.

35, | Many people in Louisiana are not religious and do not adhere to the religious tenets

set forth in any version of the Ten Commandments, including the one mandated by H.B. 71.

1]
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 12 of 19

36. Even some faith traditions that do consider the Ten Commandments to be part of
their theology do not believe in elevating the commandments over other biblical commandments
or teachings.

37. Even for faith traditions that view the Ten Commandments to be authoritative and
important, there are many different versions, depending on religious denomination or biblical
translation,

38, Among those who believe in some version of the Ten Commandments, the
particular text that they follow often differs by religious denomination or tradition. For instance,
Catholics, Jews, and many Protestants differ in the way that they number, organize, and translate
the commandments from Hebrew to English. To take one example, the Hebrew translation of the
Sixth Commandment prohibits only murder, not all killings, as the King James Version does (and
in the Lutheran and Catholic versions it is the Fifth Commandment, not the Sixth). Glassroth v.
Moore, 335 F.3d 1282, 1299 n.3 (11th Cir. 2003) (citing Gerald Blidstein, Capital Punishment:
The Classic Jewish Discussion, in 14 Judaism 159 (1965)); see also Harvey v. Cobb County, 811
F. Supp. 669, 677 (N.D. Ga. 1993) (“As Rabbi Lewis testified, this [‘Thou shalt not kill’] version
of the Sixth Commandment is a mistranslation of the original Hebrew, which prohibits murder,
and frequently appears in Christian versions of the Ten Commandments.”), aff'd, 1S F.3d 1097
(11th Cir. 1994),

39. H.B. 71 decrees exactly how the “text [of the Ten Commandments] shall read,”
down to the word. H.B. 71(B)(2).

40. The version of the Ten Commandments mandated in H.B. 71 comes from the

Protestant King James Version of the Bible and reflects a Protestant translation. See Finkelman,

12
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 13 of 19

supra at 1492; Glassroth, 335 F.3d at 1299 n.3 (noting that “the King James Version” of the Ten
Commandments “is a Protestant version’).

41. The version of the Ten Commandments mandated in H.B. 71 does not match
versions or translations found in the Jewish tradition, and it omits key language and context that ts
included in the version set forth in the Torah. For example, it is missing the message in the Jewish
story that God brought the Israelites out of Egyptian slavery to freedom. Finkelman, supra at 1498
(explaining that in the Torah Exodus 20 begins, “I am the Lord your God who brought you out of
the land of Egypt, the house of bondage,” and that for some people of the Jewish faith “[i]mplicit
in this biblical view is that God is Israel’s king, hence its legislator”). H.B. 71’s version of the
Ten Commandments also summarizes certain commandments instead of including the text as
found in the Torah in its entirety.

42. The version of the Ten Commandments mandated in H.B. 71 does not match the
version followed by most Catholics. Finkelman, supra at 1493-94 (noting that the Catholic version
of the Ten Commandments is “substantively different” from the King James Bible version). While
the King James Version of the Bible endorsed in H.B. 71 translates Exodus 20:4 to say, “Thou
shalt not make unto thee any graven image,” the Catholic New American Bible translates the
phrase to say, “You shall not carve idols for yourselves.” Finkelman, supra at 1493-94 (quoting
the Catholic New American Bible); see Exodus, Chapter 20, Books of the Bible, U.S. Conf. of
Catholic Bishops, https://bible.usccb.org/bible/exodus/20. Thus, “[t]he Catholic ordering of the
Commandments is not the same as the Protestant” in that “[t]he Catholic Church does not have a
separate prohibition on graven images.” Finkelman, supra at 1490. “These differences are of
course theological.” Jd. at 1494; see Diarmaid MacCulloch, CHRISTIANITY: THE FIRST THREE

THOUSAND YEARS 442-45 (2011). Further, “this feature of the Catholic presentation has long been

13
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 14 of 19

a subject of anti-Catholic polemic.” Richard W. Garnett, American Conversations with(in)
Catholicism, 102 MIcH. L. REV. 1191, 1198 n.34 (2004).

43. H.B. 71 requires Louisiana teachers to proselytize and instruct students on a
Protestant translation of the Ten Commandments and to lead them in religious observance,
veneration, and adoption of this religious scripture.

44. House Bill 71 also requires Louisiana teachers to work at all times in the presence
of a religious text selected by the state. The message is not subtle. Teachers, when in a classroom
dominated by a “large, easily readable” Protestant version of the Ten Commandments that is the
“central focus” of a state mandated display, are expected to adhere to and be guided by that text.

45. As a result of the prominent displays, teachers will be coerced into observance of a
specific Protestant version of Christianity. They will also be forced to be complicit in coercing
students to similarly adhere to and be guided by the Protestant version of the Ten Commandments.
Teachers and students alike, who do not subscribe to the state’s official version of the Ten
Commandments, will be unable to avoid fully expressing or practicing their own faiths and
religious beliefs or non-religious beliefs in view of their peers, teachers, and other school staff.

Mr. Dier Objects to, And Will Be Irreparably Harmed By, H.B. 71

46. Displaying the Ten Commandments in accordance with H.B. 71 would violate Mr.
Dier’s religious beliefs. Mr. Dier sincerely believes that the law also would coerce him into
following, endorsing, and proselytizing a specific faith.

47. Mr. Dier sincerely believes that displaying the Ten Commandments in accordance
with H.B. 71 would require him to engage in a religious act that is inconsistent with his faith.

48.. Mr. Dier sincerely believes that displaying the Ten Commandments in accordance

with H.B. 71 would require him to provide religious instruction contrary to his faith.

14
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 15 of 19

49. Mr. Dier sincerely believes that displaying the Ten Commandments in accordance
with H.B. 71 would require him to coerce others to follow a particular religious faith.

50. Mr. Dier sincerely believes that displaying the Ten Commandments in his
classroom in accordance with H.B. 71 would coerce him to adopt and/or endorse religious views
that are inconsistent with his faith.

51. Mr. Dier sincerely believes that displaying the Ten Commandments in accordance
with H.B. 71 would require him to engage in religious speech.

52. Absent an injunction, Mr. Dier’s refusal to display the Ten Commandments in
accordance with H.B. 71 would cause him immediate irreparable reputational harm.

53. Absent an injunction, Mr. Dier’s refusal to display the Ten Commandments in
accordance with H.B. 71 would lead to adverse professional consequences that would cause him
immediate, concrete financial harm.

54. If he were required to display the Ten Commandments in accordance with H.B. 71,
Mr. Dier would suffer mental and emotional harm.

H.B. 71 Will Irreparably Harm Louisiana Students and their Families

55. Displaying the Ten Commandments in Louisiana classrooms in accordance with
H.B. 71 will irreparably harm Louisiana students by coercing them to adopt or endorse religious
views that.are inconsistent with their faiths and individual consciences.

56. Displaying the Ten Commandments in Louisiana classrooms in accordance with
H.B. 71 will irreparably harm Louisiana families by interfering with parents’ ability to guide the

spiritual and religious upbringing of their children.

15
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 16 of 19

FIRST CAUSE OF ACTION

Violation of the Establishment Clause of the First Amendment to the United States
Constitution
(U.S. Const. amend. I, as enforced by 42 U.S.C. § 1983)

57. Plaintiff realleges and incorporates by reference all prior and subsequent
paragraphs
58. Under the Establishment Clause of the First Amendment, “Congress shall make no

law respecting an establishment of religion.” U.S. CONST. amend. I. This command is binding on
the states through the due process guarantee of the Fourteenth Amendment. See, e.g., Cantwell v.
Connecticut, 310 U.S. 296, 303 (1940).

59. House Bill 71 violates the Establishment Clause.

SECOND CAUSE OF ACTION

Violation of the Free Exercise Clause of the First Amendment to the Unites States
Constitution
(U.S. CONST. amend. I, as enforced by 42 U.S.C. § 1983)

60. ‘Plaintiff realleges and incorporates by reference all prior and subsequent
paragraphs.
61. The Free Exercise Clause of the First Amendment to the United States Constitution

guarantces that “Congress shall make no law . . . prohibiting the free exercise [of religion].” This
command is binding on the states through the due process guarantee of the Fourteenth Amendment.
See, e.g., Cantwell v. Connecticut, 310 U.S. 296, 303 (1940).

62. House Bill 71 violates the Free Exercise Clause.

16
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 17 of 19

THIRD CAUSE OF ACTION
Violation of the Free Speech Clause of the First Amendment to the Unites States
Constitution
(U.S. Const. amend. I, as enforced by 42 U.S.C. § 1983)

63. Plaintiff realleges and incorporates by reference all prior and subsequent
paragraphs.

64. The Free Speech Clause of the First Amendment to the United States Constitution
guarantees that “Congress shall make no law . . . abridging the freedom of speech.” This command
is binding on the states through the due process guarantee of the Fourteenth Amendment. See,
e.g., Gitlow v. People of State of New York, 268 U.S. 652, 666 (1925).

65. House Bill 71 violates the Free Speech Clause.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Christopher Dier respectfully requests that this Court grant the following
relief:

A. An order declaring H.B. 71 to be in violation of the Establishment Clause, Free
Exercise Clause, and Free Speech Clause of the First Amendment to the United
States Constitution;

B. An order preliminarily and, thereafter, permanently enjoining the Defendants
and their officers, agents, affiliates, subsidiaries, servants, employees,
successors, and all other persons or entities in active concert or privity or
participation with them, from adopting rules or regulations in accordance with,
or otherwise enforcing, the Act, and from requiring that the Ten Commandments

be displayed in every public school classroom in Louisiana;

17
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 18 of 19

C. An order directing Defendants to provide a copy of the written injunction to all
Louisiana public elementary, secondary, and charter schools, and all public post-
secondary education institutions;

D. An award requiring Defendants to pay Plaintiff reasonable attorneys’ fees and
costs incurred in connection with this action, pursuant to 42 U.S.C. § 1988;

E. An order retaining this Court’s jurisdiction of this matter to enforce the terms of
the Court’s order; and

F. Such other relief as the Court deems just and proper.

Dated: September 23, 2024 Respectfully submitted,
/s/ Alex Rothenberg
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* Application for Pro Hac Vice admission
forthcoming

18
Case 2:24-cv-02306-GGG-MBN Document1 Filed 09/23/24 Page 19 of 19

VERIFICATION

STATE OF LOUISIANA _ )

) SS:
ST. BERNARD PARISH _ )

Christopher Dier, being duly sworn, deposes and says:

I am Christopher Dier, the plaintiff in this action; I have read the foregoing Verified

Complaint and know the contents thereof; except as to matters therein alleged on information

and belief, I have learned of the facts alleged therein, either through my own personal knowledge

or through information reported to me in the ordinary course of business; as to those matters as

to which I do not have personal knowledge, I believe them to be true.

Sworn to and subscribed this
|Z. day of September, 2024

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Christopher Dier

